     Case 2:16-cv-00784-ALB-SRW Document 1 Filed 09/26/16 Page 1 of 5



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                      IN THE UNITED STATES DISTRICT COURT FOR
                          T I,IEM1DDTE DISTRICT-OF ALABAMA



Full name. and prison name df UULL Uij 1L
Plaintifgs)
V.
     ri
                                                       CIVIL ACTION NO.
                                                       (To be supplied by Clerk of U.S. District
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                        LU                              Court)
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         d   IJI1                              )
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^Nk_________



Name of person(s) who Siolated yOur            )   TkL               cP         iL ki
constitutional rights. (List the names         )   tLU! I  L   U il
                                                          !\tJk L(L          L"
of all the person:)

I.      PREVIOUS LAWSUITS
        A    Have you begun other lawsuits in state or federal cort dealing with the same or
             similar facts involved in this action ? YES El No [7
        B.     Have you begun other lawsuits in stat.-'or federal court relating to your
               imprisonment?    YES 0         NO
        C.     If your answer to A or B is yes, describe each lawsuit in the space below. (If there
               is more than one lawsuit, describe the additional lawsuits on another piece of paper,
               using the same outline.)
               1.      Parties to this previous lawsuit;
                       Plaintiff (s)




                       Defendant(s)                   -


               2.      Court (if federal court, name the district; if state court, name the county)
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                         3.         Docket number
                         4.         Name of judge to whom case was assigned


                         5.         Disposition (for example: was the case dismissed? Was it appealed? Is it.still
                                    pending?)

                         6.         Approximate date of filing lawsuit

                         7.                               te
                                    Approximate da of disposition

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     II.      PLACE OF PRENT CONFINEMENT _ tJt

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              PLACE OR INSTITUTON WHERE INCIDENT OCCURRED                                                      1k-u
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     M. NAME AND ADDRESS OF tNDIV1DJAL(S) YOU ALLEGE VIOLATED YOUR
          CONSTITUTIONAL RIGHTS.



     1.

     2.

     3.

     4.
     5.
     6.
     N.


     V. STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
           THAT YOUR CONSTITUTION           BEING VIOLATEp:
              GROUND ONE:                                                                             &1f11 (\(1(\6
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             0
          STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as best you can the
          time, place and manner and person involved.)

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VI. STATE BRIEFLY EXACTLY WHAT YOU WANT THE                                                 YOU.




                                               Nw -" 0-4
                                           Signature of plaintiff(s)/
                                                                                   2W2i

    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on     g   12
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